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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

   v.
                                                Case No. 23-CR-427
DANIEL EDWIN WILSON,

     Defendant.


          RESPONSE TO COURT’S MINUTE ORDER REGARDING
           INTERPRETATION OF THE PRESIDENTIAL PARDON

        During the February 26, 2025, hearing on the matter of the defendant’s

motion under 28 U.S.C. § 2255, which the government did not oppose, the Court

inquired about the interpretation of the pardon issued by President Trump for

“individuals convicted of offenses related to events that occurred at or near the

United States Capitol on January 6, 2021[.]” Executive Order dated January 20,

2025, Granting Pardons and Commutation of Sentences for Certain Offenses

Relating to the Events at Or Near the United States Capitol on January 6, 2021

available at https://www.whitehouse.gov/presidential-actions/2025/01/granting-

pardons-and-commutation-of-sentences-for-certain-offenses-relating-to-the-

events-at-or-near-the-united-states-capitol-on-january-6-2021/. As stated during

the hearing, it is the Executive Branch’s position that the pardon covers the

defendant’s conviction in this case.
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      This is not the only case in which the Department of Justice has taken the

position that President Trump’s pardon applies to offenses that were charged as a

result of search warrants conducted as part of the January 6, 2021, investigation,

for which the government did not have pre-existing evidence related to similar

offenses. The government noted examples of other such cases in its February 25,

2025 filing. See ECF 108.

      The Department’s interpretation of the scope of President Trump’s pardon

should be accorded deference. Through the Office of the Pardon Attorney, the

Department of Justice administers the President’s pardon power. See Andrews v.

Warden, 958 F.3d 1072, 1078 (11th Cir. 2020). “The Supreme Court has ruled that

deference should be accorded to an executive agency’s interpretation of an

executive order it is charged with administering.” Id. (citing Udall v. Tallman, 380

U.S. 1, 4, 16-18 (1965)). If the agency’s interpretation is not unreasonable, and

“the language of the order[ ] bears [its] construction,” courts must “respect” it.

Udall, 380 U.S. at 4, 18. The Supreme Court has further noted that “pardon and

commutation decisions have not traditionally been the business of courts . . . [and]

are rarely, if ever, appropriate subjects for judicial review.” Ohio Adult Parole

Auth. v. Woodard, 523 U.S. 272, 276 (1998) (internal quotation marks and

citations omitted); see United States v. Libby, 495 F. Supp. 2d 49, 56 (D.D.C.

2007) (Walton, J.) (citing same). Although the analysis of a pardon begins with the

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plain language of the pardon, a “full pardon” must be read in context with other

indicia of Presidential intent. See Robertson v. Gibson, 759 F.3d 1351, 1357-58

(Fed. Cir. 2014) (“Accordingly, we cannot read the pardon in a vacuum, as [the

defendant] suggests. We must also look to the nature and purpose of the pardon,

namely, President Ford’s clemency program.” (citation omitted)).

      The language of the Executive Order at issue here stated that a pardon was

granted to “individuals convicted of offenses related to events that occurred at or

near the United States Capitol on January 6, 2021.” Proclamation 10887, 90 Fed.

Reg. 8331 (January 20, 2025) (emphasis added). In these circumstances, it is a

reasonable interpretation of this language to include cases such as the defendant’s,

where the firearms that formed the basis of his convictions were found as a result

of a search warrant for evidence of the defendant’s conduct on January 6, 2021

(and for which he was not previously being investigated). As such, deference

should be accorded to the Executive’s reasonable interpretation of the pardon

language, to include a pardon for the firearms convictions in these circumstances.




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                                    Respectfully submitted,

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